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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MISSOURI
                               EASTERN DIVISION


UNITED STATES OF AMERICA,                    )
                                             )
            Plaintiff,                       )
                                             )
      vs.                                    )   Case No. 4:05CR00593 HEA (AGF)
                                             )
SANDRA PARKER,                               )
                                             )
            Defendant.                       )


             ORDER REGARDING DEFENDANT’S MENTAL
        COMPETENCYAND SANITY AT THE TIME OF THE OFFENSE

      This matter came before the Court on the motion of Defendant Sandra Parker for

an examination pursuant to 18 U.S.C. §§ 4241(a) and 4242, to determine the mental

competency of Defendant to understand the nature and consequences of the proceedings

and assist properly in her defense, and to determine whether Defendant was suffering

from any mental disease or defect at the time of the offense. On Defendant’s motion, a

private examination was ordered pursuant to 18 U.S.C. §§ 4241(b), 4242 and 4247.

      A evaluation report (the “Evaluation”) dated April 23, 2006, was completed by Dr.

Michael T. Armour, and was forwarded to the Court on April 24, 2006. (Dkt. #55, filed

under seal). The Medical Report was signed by Dr. Armour and concluded that “Mrs.

Parker at the time of the alleged offense was not so impaired that she did not know or

appreciate the nature, quality or wrongfulness of her conduct.”

      On April 28, 2006, a hearing was held pursuant to 18 U.S.C. § 4247(d).

Defendant was present and represented by her attorney, William J. Ekiss. The
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government was represented by Assistant United States Attorney Jeffrey Jensen. Neither

party had any objections to the Evaluation, and neither believed there was a need for any

further testing or evaluation. Based upon the Evaluation of Dr. Armour, in which he

concludes (1) Defendant is able to understand and appreciate the nature and

consequences of the proceeding and to assist properly in her own defense, and (2)

Defendant was not suffering from any mental disease or defect at the time of the offense

charged that might provide a defense of insanity, the Court’s own observations of

Defendant in prior court proceedings, and the Court’s discussion with Defendant at the

hearing,

       The undersigned hereby finds, pursuant to 18 U.S.C. §§ 4241(a) and (d), that

Defendant Sandra Parker is mentally competent to stand trial, and is able to understand

the nature and consequences of the proceedings and to assist properly in her own defense.

Although a matter for determination at trial, the undersigned further notes, pursuant to 18

U.S.C. §§4241(d) and 4242, that at this time there is nothing to suggest that Defendant

was incompetent or insane at the time of the offense charged.



                                            _________________________________
                                            AUDREY G. FLEISSIG
                                            United States Magistrate Judge


Dated this 28th day of April, 2006.




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